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                    IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

THE ESTATE OF MARILYN MONROE LLC,
       Plaintiff,                                       Civil Action No.
v.                                                      1:25-cv-2546

11qiasiwenrou, et al.,

       Defendants.

                      NOTICE OF VOLUNTARY DISMISSAL
      Plaintiff The Estate of Marilyn Monroe LLC, by and through undersigned

counsel and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), hereby voluntarily dismisses

this action against the below Defendant without prejudice, with each party to bear

its own attorneys’ fees and costs:

      1. CherishedWhiskers Memorials;

      2. Desu Nine;

      3. Laichangwan;

      4. Lei Wall Art;

      5. LuoWallArt;

      6. QL ONLINE; and

      7. Siminlou.




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Dated: June 27, 2025.

                               Respectfully submitted,
                               THE SLADKUS LAW GROUP

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